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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 18 CR 818-7
             v.
                                              Judge John Robert Blakey
ADEWALE ANTHONY ADEWUMI,
also known as “Johnson Collins,”
and “Adrian Scott”

             MOTION OF THE UNITED STATES FOR ENTRY OF
                PRELIMINARY ORDER OF FORFEITURE

      The United States of America, through JOHN R. LAUSCH, JR., United States

Attorney for the Northern District of Illinois, moves for entry of a preliminary order

of forfeiture as to specific property pursuant to the provisions of Title 18, United

States Code, Section 981(a)(1)(C), Title 28, United States Code, Section 2461(c) and

Fed. R. Crim. P. 32.2, and in support thereof submits the following:

      1.     On May 16, 2019, an indictment was returned charging ADEWALE

ANTHONY ADEWUMI and others with wire fraud, in violation of Title 18, United

States Code, Section 1343 (Counts Six and Seven). The indictment sought forfeiture

to the United States in Forfeiture Allegation One of any and all right, title and

interest the defendant may have in any property, real and personal, that constitutes

and is derived from proceeds traceable to the commission of the offenses charged in

certain counts, including the wire fraud charges in Counts Six and Seven.

      2.     On November 19, 2020, pursuant to Fed. R. Crim. P. 11, defendant

ADEWALE ANTHONY ADEWUMI entered a voluntary plea of guilty to Count Seven

of the indictment, thereby making certain property subject to forfeiture pursuant to
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Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

Section 2461(c).

       3.     Pursuant to the terms of his plea agreement and as a result of his

violation of Title 18, United States Code, Section 1343, defendant ADEWALE

ANTHONY ADEWUMI agreed to the forfeiture to the United States of all right, title,

and interest that he has in any property constituting or derived from proceeds

obtained, directly or indirectly, as a result of the wire fraud violation of conviction.

Defendant ADEWALE ANTHONY ADEWUMI agreed to the entry of a personal

money judgment in an amount to be set by the Court at sentencing, which will

represent the total amount of proceeds traceable to the actions of defendant’s and

others’ role in the offense.

       4.     Because of the defendant’s conviction of the above violation, funds in the

amount of $961,968.92 are subject to forfeiture pursuant to the provisions

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), as proceeds obtained by defendant

ADEWALE ANTHONY ADEWUMI as a result of the violation of conviction. As set

forth in Exhibit B to the Government’s Position Paper as to Sentencing Factors, that

amount is the approximate total fraud proceeds that passed through the fake bank

accounts opened by defendant.

       5.     Pursuant to Fed. R. Crim. P. 32.2(b)(2)(B), unless doing so is impractical,

the court must enter the preliminary order of forfeiture sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications before the order

becomes final as to the defendant at sentencing.



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      6.     In accordance with this provision, the United States requests that this

Court enter a personal money judgment in the amount of $961,968.92 against

defendant ADEWALE ANTHONY ADEWUMI, and further enter a preliminary order

of forfeiture pursuant to the provisions of Title 18, United States Code, Section

981(a)(1)(C) and Title 28, United States Code, Section 2461(c), forfeiting all right,

title, and interest defendant ADEWALE ANTHONY ADEWUMI has in funds in the

amount of $961,968.92 subject to forfeiture.

      7.     If funds to satisfy the personal money judgment entered against

defendant ADEWALE ANTHONY ADEWUMI, as a result of any act or omission of

the defendant:

             a.    cannot be located upon the exercise of due diligence;

             b.    have been transferred or sold to, or deposited with, a third-party;

             c.    have been placed beyond the jurisdiction of the Court;

             d.    have been substantially diminished in value, or

             e.    have been commingled with other property which cannot be
                   divided without difficulty;

the United States shall request that this Court order the forfeiture of any other

property belonging to defendant ADEWALE ANTHONY ADEWUMI up to the

amount of the personal money judgment entered against the defendant, pursuant to

Title 21, United States Code, Section 853(p) and Title 28, United States Code, Section

2461(c), and Fed. R. Crim. P. 32.2, in order to satisfy the personal money judgment

entered by the Court.




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      8.     Since funds in the amount of the outstanding personal money judgment

cannot be located to satisfy the personal money judgment, pursuant to the provisions

of Title 21, United States Code, Section 853(p), as incorporated by Title 28, United

States Code, Section 2461(c), and Fed. R. Crim. P. 32.2, the United States, upon

motion before this Court, has the authority to forfeit substitute assets to satisfy the

personal money judgment. Should assets become available to satisfy the personal

money judgment in the future, the United States shall, at that time, file a motion for

substitution of assets before this Court requesting permission to seize such assets

and publish notice of the United States= intent to forfeit the property to satisfy the

personal money judgment according to law.

      9.     Pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28,

United States Code, Section 2461(c), and Fed. R. Crim. P. 32.2, the United States

requests that the terms and conditions of this preliminary order of forfeiture entered

by this Court be made part of the sentence imposed against defendant ADEWALE

ANTHONY ADEWUMI and included in any judgment and commitment order

entered in this case against him.

      WHEREFORE, pursuant to the provisions of Title 18, United States Code,

Section 981(a)(1)(C), Title 28, United States Code, Section 2461(c), and Fed. R. Crim.

P. 32.2, the United States requests that this Court enter a personal money judgment

against defendant ADEWALE ANTHONY ADEWUMI in the amount of $961,968.92,

and enter a preliminary order of forfeiture against defendant ADEWALE ANTHONY




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ADEWUMI, in accordance with the draft preliminary order of forfeiture which is

submitted herewith.

                                           Respectfully submitted,

                                           JOHN R. LAUSCH, JR.
                                           United States Attorney


                                     By:   ___Charles W. Mulaney______________
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